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                  EXHIBIT 1
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 9
                                UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11

12   DANIEL VALENTI, Individually and On Behalf   Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
13                                                DECLARATION OF ERIC ROSEN
                                Plaintiff,
14                                                Date:      April 6, 2023
                   v.                             Time:      10:00 a.m.
15                                                Courtroom: 11, 19th Floor
     DFINITY USA RESEARCH LLC, DFINITY            Judge:     Hon. James Donato
16   FOUNDATION, and DOMINIC WILLIAMS,

17                              Defendants.

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                        DECLARATION OF ERIC ROSEN – No. 3:21-cv-06118
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 1                                    DECLARATION OF ERIC ROSEN
 2          I, Eric Rosen, declare:
 3          1.     I am an attorney admitted in New York and Massachusetts. I am a partner and General
 4   Counsel at the law firm Freedman Normand Friedland LLP (f/k/a Roche Freedman LLP) (“FNF”).
 5   I submit this declaration on my own personal knowledge. If called to testify to the matters herein, I
 6   could and would competently do so.
 7          2.     Prior to joining FNF, I was a federal and local prosecutor for nearly 12 years in New
 8   York, Pittsburgh, and Boston.
 9          3.     On September 3, 2022, I learned from an associate at FNF that employees and/or
10   owners of Dfinity were planning and/or discussing physically harming Mr. Roche. This information
11   had been relayed to this associate by his friend, who is a lawyer in New York (“NY Lawyer”).
12          4.     Upon learning of this, on Saturday, September 3, 2022, I spoke directly with NY
13   Lawyer. NY Lawyer explained to me that on or about Friday, September 2, he was at a crypto event
14   in New York with a friend and several members of the crypto community.
15          5.     Talk amongst NY Lawyer and others soon turned to Dfinity and the “CryptoLeaks”
16   videos and article involving Mr. Roche.
17          6.     Attendees told NY Lawyer that they had learned from others that people associated
18   with Dfinity were planning to kill Mr. Roche. Unsure as to whether these remarks were serious, NY
19   Lawyer asked additional questions. The attendees indicated they were serious, and that Mr. Roche
20   was being targeted because he was “messing with people’s money,” referring to this lawsuit against
21   Defendants.
22          7.     Upon leaving that situation, NY Lawyer felt he needed to relay this information to
23   FNF. He therefore told the associate, who relayed the information to me.
24          8.     After discussing this issue with NY Lawyer, I provided this information to the FBI to
25   seek advice on what needed to be done, if anything, to secure Mr. Roche’s safety.
26          I declare under penalty of perjury under the laws of the United States that the foregoing is
27   true and correct to the best of my knowledge.
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                         DECLARATION OF ERIC ROSEN – No. 3:21-cv-06118
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 1   Dated: March 13, 2023               Respectfully Submitted,
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                                         Eric Rosen
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                       DECLARATION OF ERIC ROSEN – No. 3:21-cv-06118
